           Case 1:16-cr-00114-ADA-BAM Document 64 Filed 01/24/18 Page 1 of 3


     PRECILIANO MARTINEZ
 1   ATTORNEY AT LAW
     State Barth No. 93253
 2   1120 14 Street, Suite 5
     Modesto, CA 95354
 3   (209)579-2206/ (209)579-2211 Fax
     attymartinezp@yahoo.com
 4

 5   Attorney for Defendant
     Gerardo Anaya Garcia
 6

 7                              UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                )
     UNITED STATES OF AMERICA,                    )   CASE NO. 1:16-CR-114-DAD
11              Plaintiff,                        )
12        vs.                                     )   STIPULATION AND ORDER TO
                                                  )   CONTINUE SENTENCING DATE
13   Gerardo Anaya Garcia                         )
                   Defendant.                     )   Date: March 19, 2018
14                                                    Time: 10:00a.m.
                                                  )
                                                      Courtroom 5
15                                                )
                                                  )
                                                      Honorable Dale A. Drozd
16                                                )
17

18
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19

20   Jeffrey A. Spivak, Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for

21   Defendant Gerardo Anaya-Garcia, that the sentencing date scheduled for March 19, 2018, at
22
     10:00 a.m. be vacated and the sentencing date be continued to this court’s calendar June 4,
23
     2018, at 10:00 a.m.
24
     ///
25

26   ///

27   ///
28
           Case 1:16-cr-00114-ADA-BAM Document 64 Filed 01/24/18 Page 2 of 3


            I am requesting:
 1

 2          1) The current sentencing date be vacated due to me being in a murder trial (Stanislaus

 3          v. Frank Carson et. al. Case no. 1490969)
            2) My presence in this trial has made it impossible for me to be present with my client
 4
            at the probation interview.
 5

 6

 7   Respectfully Submitted,
 8

 9   Dated: January 23, 2018                                     /s/ Preciliano Martinez
                                                                 Preciliano Martinez
10                                                               Attorney for Defendant
                                                                 Gerardo Anaya-Garcia
11

12

13   Dated: January 23, 2018                                     /s/ Jeffrey A. Spivak
                                                                 Jeffrey A. Spivak
14
                                                                 Assistant U.S. Attorney
15

16

17

18

19

20

21

22

23

24

25

26

27

28
           Case 1:16-cr-00114-ADA-BAM Document 64 Filed 01/24/18 Page 3 of 3


                                               ORDER
 1

 2          Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court

 3   that the current March 19, 2018 sentencing date is hereby vacated and reset to June 4, 2018.
 4

 5
     IT IS SO ORDERED.
 6

 7      Dated:     January 24, 2018
                                                      UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
